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                             UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF MASSACHUSETTS

   In re:
   OWEN R. MCKENNA                                    Ch. 13
                                                      14-15109-JEB
   and
   ELLEN L. MCKENNA,
     Debtors


                                Proceeding Memorandum and Order

MATTER:
#312 Motion of Debtors for Determination of Final Cure and Mortgage Payment re: Rule 3002.1
Notice of Mortgage Payment Change, Re claim #9
#413 Objection /Motion of Debtors Pursuant to FRBP 3002.1(b)(2) Relative to Notice of Mortgage
Payment Change

Decision set forth more fully as follows:
Hearing held December 2, 2021. For the reasons set forth on the record, the hearings are
continued to January 20, 2022, at 10:45 a.m. The Debtors shall by December 22, 2021, file a
supplement, which may include an affidavit, setting forth the disputed payments and the effect of
the Stipulation [#393] on the dispute. U.S. Bank shall by January 13, 2022, file any response,
which may include an affidavit.

The Debtors are responsible for: 1) serving a copy of this Order upon all parties entitled to notice;
and 2) filing a certificate of such service by December 7, 2021. If they fail to serve this Order or
file a certificate of service, the Court will take such action as is appropriate, which may include
canceling the hearing.




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For reasons of public health and safety, all participants and anyone else wishing to attend the
hearing must do so by telephone and not in person. To appear telephonically, attendees must, no
later than five minutes prior to the scheduled hearing time, dial 1-877-336-1839 and enter
Access Code 1378281#.

Dated: 12/3/2021                                      By the Court,




                                                      Janet E. Bostwick
                                                      United States Bankruptcy Judge




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